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                                  JS-0003
                              
                        
          
        
      
    
  

  

  
    
      JS-0003
              John Scott
                  
                  Summary
                      A race-based student disciplinary decision by an educator or school district violates the Texas Equal Rights Amendment of the Texas Constitution unless it is narrowly tailored to serve a compelling governmental interest. A court would likely conclude that avoiding a disparate impact cannot serve as a compelling governmental interest that justifies making a race-based student disciplinary decision.
      
                          
            Opinion File
                         js-0003.pdf 

      
          
                
        
      
    

          
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    RQ-0492-KP

      
  
                December 19, 2022

      
  
      
      
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                     RQ0492KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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